       Case: 3:15-cv-00127-MPM-JMV Doc #: 130 Filed: 06/17/21 1 of 3 PageID #: 589




                                 IN THE UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF MISSISSIPPI
                                           OXFORD DIVISION

UNITED STATES OF AMERICA
ex rel. KEVIN GRAY                                                                    PLAINTIFF

v.                                                                     No. 3:15cv127-MPM-JMV

MITIAS ORTHOPAEDICS, PLLC,
and HANNA M. MITIAS, M.D.                                                          DEFENDANTS

                                                ORDER

           This matter is before the court on the opposed motion of the Plaintiff to amend the

complaint in intervention [105]. For the reasons discussed below, the motion to amend the

complaint is granted.

           It is well recognized both that the Court should freely grant leave to amend when justice

requires it, 1 and when leave to amend is sought after the expiration of a court ordered deadline,

good cause for modification of the deadline is required prior to application of the more liberal

standard of FED. R. CIV. P. 15(a). E.E.O.C. v. Landau Uniforms, Inc., 287 F.R.D. 385, 386 (N.D.

Miss. 2013). The 5th Circuit has explained that the following factors are relevant to a finding of

good cause: “(1) the explanation for the failure to timely move for leave to amend; (2) the

importance of the amendment; (3) potential prejudice in allowing the amendment; and (4) the

availability of a continuance to cure such prejudice.” Id. (quoting Sw. Bell Tel. Co. v. City of El

Paso, 346 F.3d. 541, 546 (5th Cir. 2003)).

            In the instant case, the deadline for filing motion to amend per the case management order

was February 1, 2021, and the instant motion to amend was not filed until May 14, 2021. In

opposing the motion to amend, Defendants make several arguments:



1
    See FED. R. CIV. P. 15(a).
    Case: 3:15-cv-00127-MPM-JMV Doc #: 130 Filed: 06/17/21 2 of 3 PageID #: 590




(1) that there is no good cause shown for it because the new claims made are futile – namely, that

they are barred, at least in part, by the applicable statute of limitations; (2) in so far as the newly

added “reverse false claim act” cause of action is concerned, the facts in support thereof do not

state such a cause of action under Ashcroft v. Iqbal, 556 U.S. 662, (2009); and (3) that the above

referenced factors to be considered in cases where good cause for amendment is at issue weigh

in favor of disallowing the amendment. See Dkt. 119.

       The court has considered these arguments and finds, nevertheless, that the amendment

should be permitted because while ultimately it may be demonstrated that the statute of limitations

– either due to failure of the amendments to relate back to the original complaint or otherwise –

applies to some or all of the amended claims, that is not a matter sufficiently clear on this record

so as to constitute futility. This is particularly so given that it is conceded that irrespective of any

argument regarding relation back, some portion of the amended claims may likely not be barred

under the applicable statute of limitations. Similarly, though Defendants make a reasoned

argument for their position that the reverse false claims cause of action fails to state a claim as

pled, that is a contested legal issue with authorities apparently existing on both sides.

       Finally, in so far as the good cause factors are concerned, the court finds, on the whole,

they weigh in favor of allowing the amendment. Namely, the Plaintiff has offered some seemingly

legitimate reasons why it is late moving to amend and an explanation of why the amendments,

which will apparently narrow at least some of the claims, are important. Further, though both

parties assert the presence and/or absence of prejudice, neither has stated these positions with any

particularity, nor does any party suggest the need for a continuance. Consequently – particularly

given that discovery is still underway in the case and the defense depositions are just beginning –

the undersigned is persuaded that the factors in favor of the amendment outweigh those against.
    Case: 3:15-cv-00127-MPM-JMV Doc #: 130 Filed: 06/17/21 3 of 3 PageID #: 591




This is particularly the case where, as here, permitting the amendment does not foreclose the

Defendants’ substantive arguments.

       As such, the Plaintiff is directed to file the amended complaint within two (2) business days

from the date of this order.

       SO ORDERED this, the 17th day of June, 2021.

                                             /s/ Jane M. Virden
                                             UNITED STATES MAGISTRATE JUDGE
